               Case: 4:22-cv-01040 Doc. #: 1-7 Filed: 09/29/22 Page: 1 of 2 PageID #: 47
                                                                                                                  Reset
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                  __________ Districtof
                                                                      ofMissouri
                                                                        __________

               STATE OF NEBRASKA, et al.
                                                                     )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )     Civil Action No.
         PRESIDENT JOSEPH R. BIDEN, et al.                           )
                                                                     )
                            Defendant
                                                                     )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable Joseph R. Biden, Jr.
                                         President of the United States
                                         White House
                                         1600 Pennsylvania Avenue NW
                                         Washington DC 20500



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Office of Missouri Attorney General
                                         Attn: Michael E. Talent
                                         Deputy Solicitor General
                                         815 Olive Street #200
                                         St. Louis, Missouri 63101


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
